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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

   BABY DOE, et al.,

                Plaintiffs,                 CIVIL NO: 3:22-cv-00049-NKM-JCH

   -v.-

   JOSHUA MAST, et al.,

                Defendants.




            PLAINTIFFS’ OPPOSITION TO NON-PARTY UNITED STATES’
                        MOTION TO QUASH SUBPOENAS




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                                           BACKGROUND

     A. Plaintiffs’ Complaint for Declaratory Judgment

            This Court is familiar with the facts of this case, which concerns Joshua and Stephanie

  Mast’s (“J&S Mast”) fraudulent scheme to abduct Baby Doe from Plaintiffs John and Jane Doe.

  ECF No. 68 (Amended Complaint) at 1. Among other things, Plaintiffs’ Amended Complaint

  seeks a declaratory judgment that:

     i.      under the Supremacy Clause of the United States Constitution, the decisions of the United
             States to recognize Baby Doe’s legal status as an Afghan citizen, and to recognize the
             Government of Afghanistan’s jurisdiction over her, are binding and cannot be overridden
             or contradicted by a state court;

     ii.     at the time that Joshua and Stephanie Mast obtained a custody order for her from the
             Juvenile Court, Baby Doe was not “stateless,” but was an Afghan citizen;

     iii.    at the time that Joshua and Stephanie Mast obtained an adoption order for her from the
             Circuit Court, Baby Doe was not “stateless,” but was an Afghan citizen;

     iv.     the Government of Afghanistan never waived jurisdiction over Baby Doe for the purpose
             of her custody or adoption by Joshua and Stephanie Mast in the United States;

     v.      Baby Doe had no connection, let alone a significant connection, to the Commonwealth
             of Virginia at the time that Joshua and Stephanie Mast obtained a custody order for her
             from the Juvenile Court;

     vi.     Baby Doe had no connection, let alone a significant connection, to the Commonwealth
             of Virginia at the time that Joshua and Stephanie Mast obtained an adoption order for her
             from the Circuit Court;

     vii. neither Baby Doe’s biological parents, nor Jane and John Doe, had a significant
          connection with the Commonwealth of Virginia at the time that Joshua and Stephanie
          Mast obtained a custody order for her from the Juvenile Court;

     viii. at the time that Joshua and Stephanie Mast obtained the custody order for Baby Doe, she
           was in the physical custody of the United States military in Afghanistan and, therefore,
           was beyond the jurisdiction of the Juvenile Court or any court of the Commonwealth of
           Virginia;

     ix.     at the time that Joshua and Stephanie Mast obtained an adoption order for her from the
             Circuit Court, Baby Doe was not living in their home but was in Afghanistan;

     x.      under the Supremacy Clause of the United States Constitution, the decision of the United
             States to exercise its foreign affairs powers by allowing Baby Doe’s transfer to the


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             Government of Afghanistan for family reunification supersedes and nullifies any
             conflicting state court action;

      xi.    under the Supremacy Clause of the United States Constitution, a state court lacks
             authority to override the Executive Branch’s foreign policy decision to allow Baby Doe’s
             transfer to the Government of Afghanistan for family reunification; and

      xii. the decision of the United States to transfer Baby Doe to the Government of Afghanistan
           for family reunification was an exercise of the Executive’s foreign affairs power that is
           binding on state courts.

  Id. at 44-45. Plaintiffs seek a declaratory judgment on these points because J&S Mast previously

  have argued that the foreign policy decision of the United States government to accede to the

  exercise of jurisdiction by the Government of the Islamic Republic of Afghanistan (“GIRoA”)

  over Baby Doe and to reunite her with her family has no force or effect. See Joint Response Brief

  of J.M. and S.M. and the Guardian Ad Litem, Case Nos. 1855-22-2. 0876-23-2, 0940-23-2, &

  0953-23-2, at 44–46 (Va. Ct. App.) (relevant pages attached as Exh. A) (J&S Mast arguing that

  the “foreign policy decision allegedly made between a diplomat at the U.S. Embassy in Kabul and

  a bureaucrat of the now-defunct Islamic Republic of Afghanistan” has no effect). This declaratory

  relief will help establish that J&S Mast tortiously interfered with Plaintiff John and Jane Doe’s

  parental rights, as asserted in Count 1 of the Amended Complaint. ECF No. 68 (Amended

  Complaint) at ¶¶ 155, 156, 157.

      B. Plaintiffs’ Touhy Requests and Related Third-Party Subpoenas

            Plaintiffs served three Touhy1 requests and related subpoenas seeking the deposition

  testimony2 of Donna A. Welton of the Department of State (“DoS”), and Col. Joseph M. Fairfield



  1
   These are referred to as Touhy requests pursuant to United States ex rel. Touhy v. Ragen, 340
  U.S. 462 (1951).
  2
    Plaintiffs’ Touhy Requests also sought certain documents from these individuals and agencies.
  Those documents are not at issue in the government’s Motion, as both DoS and DoD advised that
  they would respond to the document requests separately. See Exh. B at fn. 1; Exh. C at fn. 1.


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  and Lt. Col. Rosemary Reed of the Department of Defense (“DoD”). See April 10, 2024 Letters

  from M. Eckstein to K. Wyer (“Touhy Requests”) (attached as Exhs. D-F); April 10, 2024

  Subpoenas (attached as Exhs. G-I). The Touhy Requests and related subpoenas sought depositions

  from these federal employees because they provided declarations in related state court litigation

  supporting the propositions that: (1) at the time J&S Mast obtained their custody and adoption

  orders, Baby Doe was not “stateless,” but was an Afghan citizen; (2) the GIRoA never waived

  jurisdiction over Baby Doe for the purpose of her custody or adoption by J&S Mast in the United

  States and, in fact, exercised jurisdiction and asked that she be released to her family – a request

  the United States honored; (3) the DoD had physical custody of Baby Doe from September 6,

  2019, through February 27, 2020, and did not receive notice of the custody or adoption proceedings

  in a manner that permitted the United States to contest the inaccurate factual findings made in

  those proceedings; and (4) the DoD in fact released Baby Doe to the Afghan Government, in

  particular, the Ministry of Labor and Social Affairs, for reunification with her family. See, e.g.,

  Aug. 22, 2022 Declaration of Fairfield (attached as Exh. J) at 4 (“Ultimately, the Government of

  Afghanistan determined that the child was Afghan with surviving Afghan relatives, which

  superseded any prior assessments or views.”); Mar. 24, 2023 Declaration of Reed (attached as Exh.

  K) at 1 (“I was extensively involved in matters related to the child at issue in this case throughout

  the entirety of her time in Department of Defense (DoD) custody between September 2019 and

  her transfer to the Afghan Government for reunification with Afghan family members in February

  2020.”); Aug. 19, 2022 Declaration of Welton (attached as Exh. L) at 3 (“On February 27, 2020, I

  witnessed the child’s transfer from Craig Hospital to two [Afghan Ministry of Labor and Social

  Affairs] representatives. [International Commission of the Red Cross] personnel facilitated the

  transfer . . . . The group then departed by plane to [] to reunite the baby with her family”). The




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  depositions also are likely to further rebut J&S Mast’s false allegations that the U.S. government

  engaged in a conspiracy to cover up the child’s purported “foreign fighter” origins by placing her

  with an Afghan family of no relation to her.3 See, e.g., Exhs. E at 5; F at 5. Thus, Plaintiffs’ Touhy

  Requests and related subpoenas seek information that bears directly on the declaratory judgment

  issues before this Court.

      C. Responses from the DoS and DoD

          The DoS and DoD denied Plaintiffs’ Touhy Requests (see attached Exhs. B-C) and filed a

  Motion to Quash Subpoenas, with each agency providing its basis for doing so. ECF No. 389.

  Regarding Plaintiffs’ request for Welton’s deposition, the DoS argued that the request was unduly

  burdensome and duplicative because the DoS is not a party to the litigation, her declarations and

  “limited” deposition were made available in the related state court proceeding and filed under seal

  in this case, and a deposition would take Welton away from her official duties. Exh. B at 3-5. The

  DoS also asserts that the government’s “foreign policy decision is not properly subject to collateral

  attack and that the facts underlying that decision are not genuinely in dispute as a matter of law.”

  Id. at 5.

          For its part, the DoD provided similar reasons for denying the requests for the depositions

  of Fairfield and Reed. Exh. C at 2-4. Specifically, the DoD argued that the requests were

  disproportionate to the needs of the case, duplicative, and unreasonably cumulative because the

  agency already had provided declarations from Fairfield and Reed in the related state court matter,

  several of which were filed under seal in this case. See id. at 2-3. Like the DoS, the DoD further



  3
    Plaintiffs do not concede the relevance of these false allegations to the litigation, but recognize
  that Defendants are likely to seek to raise these claims in this case. Plaintiffs will move in limine
  at the appropriate time to preclude evidence and argument relating to these topics from being
  presented at trial.


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   argued that the requests sought irrelevant information because the government’s “foreign policy

   decision to transfer the child to the Government of Afghanistan for reunification with her Afghan

   family is not properly subject to collateral attack in cases where the United States is not a party.”

   Id. at 3. Lastly, the DoD argued the information sought is protected under the deliberative-process

   privilege. Id. at 3-4.

       D. Touhy Regulations

           Under the Federal Housekeeping Statute, federal agencies may issue Touhy regulations

   setting out the procedures by which their employees may testify about work-related issues. 5

   U.S.C. § 301; see also United States v. Soriano-Jarquin, 492 F.3d 495, 504 (4th Cir. 2007).

   Pursuant to that authority, both the DoS and DoD have issued regulations that prescribe the

   procedures governing an agency employee’s response to subpoenas for the disclosure of

   information obtained through the performance of the employee’s official duties. See 22 C.F.R. §§

   172.4-.9 (Department of State); 32 C.F.R. § 97 (Department of Defense). These regulations permit

   a former or current DoS or DoD employee to provide oral or written testimony concerning any

   information acquired while a federal employee only with the prior approval of the appropriate

   agency authority. 22 C.F.R. § 172.4(a); 32 C.F.R. § 97.7.

           Under these regulations, a requesting party must provide the agency with a written request

   specifying the nature and relevance of the official information sought. 22 C.F.R. § 172.5(a); 32

   C.F.R. § 97.9(a). In response, the agency must determine whether the request is appropriate by

   considering various factors. The factors each agency must consider vary by agency.

           Pursuant to the applicable regulations, the DoS “shall consider” the following relevant

   factors:

                        (1) Whether such compliance would be unduly burdensome . .
                            .;



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                       ...

                       (3) The public interest;

                       (4) The need to conserve the time of Department employees for
                       . . . official business;

                       (5) The need to avoid spending time and money of the United
                       States for private purposes;

                       (6) The need to maintain impartiality between private litigants
                       in cases where a substantial government interest is not
                       implicated; [and]

                       (7) Whether compliance would have an adverse effect on
                       performance by the Department of its mission and duties[.]

   22 C.F.R. § 172.8(a). For its part, the DoD “will consider” the following relevant factors:

                       (a) [Whether t]he litigation request or demand is overbroad,
                       unduly burdensome, or otherwise inappropriate under
                       applicable law or court rules[;]

                       (b) [Whether t]he disclosure would be improper (e.g., the
                       information is irrelevant, cumulative, or disproportional to the
                       needs of the case) under the rules of procedure governing the
                       litigation from which the request or demand arose[;]

                       (c) [Whether t]he official information or witness testimony is
                       privileged or otherwise protected from disclosure . . . .

   32 C.F.R. § 97.8.

                                         LEGAL STANDARD

          When the government is not a party to litigation, the Administrative Procedure Act

   (“APA”) provides the sole avenue for review of an agency’s denial of a Touhy request. See

   COMSAT Corp. v. National Science Foundation, 190 F.3d 269, 277 (4th Cir. 1999). A federal

   court can order compliance with a Touhy request or subpoena if the government refuses to allow

   the production or deposition in an arbitrary, capricious, or otherwise unlawful manner. Id. An

   agency’s decision is considered arbitrary and capricious under the APA:




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                  if the agency has relied on factors which Congress has not intended
                  it to consider, entirely failed to consider an important aspect of the
                  problem, offered an explanation for its decision that runs counter to
                  the evidence before the agency, or is so implausible that it could not
                  be ascribed to a difference in view or the product of agency
                  expertise.

   Motor Vehicles Mfrs. Ass’n v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 43 (1983). “At a

   minimum, the agency must have considered relevant data and articulated an explanation

   establishing a ‘rational connection between the facts found and the choice made.’” Bobreski v.

   U.S. E.P.A., 284 F. Supp. 2d 67, 74 (D.D.C. 2003).

          A motion to quash a subpoena is a sufficient mechanism to allow a federal district court to

   review an agency’s decision to deny a Touhy request. See Clay v. Consol Pennsylvania Coal Co.,

   LLC, No. 5:12-CV-92, 2013 WL 12373597, at *2 (N.D. W.Va. Oct. 17, 2013) (“Although an

   aggrieved party may bring a separate action under the APA, if the underlying case is already in

   federal court, a motion to compel compliance with the subpoena or a motion to quash the subpoena

   are both sufficient mechanisms to allow a federal district court to review an agency’s actions under

   its Touhy regulations.” (internal citation omitted)).

                                              ARGUMENT

          While the Supreme Court’s decision in Touhy “recognized the authority of the heads of

   government agencies to enact regulations to provide an orderly process for handling requests for

   information and evidence addressed to them, neither Touhy nor the Federal Housekeeping Statute

   stands for the proposition that the government is broadly exempt from providing evidence.” Brown

   v. United States Dep’t of Veterans Affs., No. 2:17-CV-1181-TMP, 2017 WL 3620253, at *7 (N.D.

   Ala. Aug. 23, 2017) (finding government’s rejection of Touhy request arbitrary and capricious).

   Rather, a government agency must have “a good reason” for withholding evidence and, “absent

   such a good reason, doing so is arbitrary, capricious, and an abuse of discretion.” Id. An agency’s



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   refusal to provide evidence “must make sense within the general context of the broad obligation

   to comply with the public’s entitlement to “every man’s evidence.” Id. (cleaned up); see also Lamb

   v. Wallace, No. 7:16-cv-44-FL, 2018 WL 847242, *5 (E.D. N.C. Feb. 13, 2018) (“There is no

   independent privilege to withhold government information or shield federal employees from valid

   subpoenas that arises from the regulations”) (citation omitted) (cleaned up)).

          It is no surprise then that numerous courts have found government agencies’ rejections of

   Touhy requests to be arbitrary and capricious. See, e.g., In re Subpoena to National Science

   Foundation, Misc. No. 3:18-mc-00006-JAG, 2018 WL 5017612 (E.D. Va. Oct. 16, 2018) (finding

   NSF’s rejection of Touhy request arbitrary and capricious); Lamb, 2018 WL 847242, *5 (finding

   DOJ’s rejection of Touhy request arbitrary and capricious); In re 3M Combat Arms Earplug Prod.

   Liab. Litig., No. 3:19-MD-2885, 2020 WL 6438614, at *4 (N.D. Fla. Nov. 2, 2020) (finding CDC’s

   rejection of Touhy request arbitrary and capricious); S.E.C. v. Chakrapani, No. 09 CIV. 1043

   (RJS), 2010 WL 2605819, at *10 (S.D.N.Y. June 29, 2010) (finding DOJ’s rejection of Touhy

   request arbitrary and capricious); Schroeder v. United States Dep't of Veterans Affs., 673 F. Supp.

   3d 1204, 1215 (D. Kan. 2023) (finding VA’s rejection of Touhy request arbitrary and capricious);

   Rhoads v. United States Dep’t of Veterans Affs., 242 F. Supp. 3d 985, 997 (E.D. Cal. 2017) (same);

   Brown, 2017 WL 3620253, at *6 (same).

      A. The DoS’s denial of Plaintiffs’ Touhy Request was arbitrary and capricious because
         it failed to consider two important factors and provided insufficient bases for other
         factors.

          1.   The DoS failed to consider two important factors.

          When several factors are particularly relevant, an agency’s refusal to consider those factors

   amounts to an abuse of discretion. See, e.g., Schroeder, 673 F. Supp. 3d at 1222 (finding VA’s

   refusal to consider two relevant factors was arbitrary and capricious); OhioHealth Corp. v. U.S.

   Dep’t of Veteran Affs., No. 2:14-CV-292, 2014 WL 4660092, at *6 (S.D. Ohio Sept. 17, 2014)


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   (“While the Court recognizes that the VA does not have to consider all of the factors listed in 38

   C.F.R. § 14.804, the Court finds the agency’s failure to address one of the most important aspects

   of Plaintiffs’ Touhy requests relevant”); Rhoads, 242 F. Supp. 3d at 996 (“failure to take into

   account important factors” was arbitrary and capricious).

          First, the DoS failed to adequately consider the public interest in this litigation. 22 C.F.R.

   § 172.8(a)(3). The issues at stake in this litigation implicate the Supremacy Clause, federalism,

   and foreign affairs. The DoS essentially concedes as much, asserting that the government’s

   “foreign policy decision is not properly subject to collateral attack[.]” Exh. B at 5. Defendants

   apparently disagree, though, as they have collaterally attacked the government’s foreign policy

   decision in the related state court litigation, attempted to negate that decision through prior

   litigation seeking a restraining order from this very Court, and can be expected to otherwise attack

   that decision here, too. Baby L v. Esper, et al., No. 3:20-cv-00009-NKM, ECF No. 27-2 at 42

   (W.D. Va. 2020) (relevant pages attached as Exh. M) (The Court: “But it is the role of the State

   Department and not private litigants or the Court to determine the foreign policy interest of the

   United States”). Welton’s deposition will help prove facts that are key to establishing that the

   decision of the United States to exercise its foreign affairs powers by allowing Baby Doe’s transfer

   to the GIRoA for family reunification supersedes and nullifies any conflicting state court action

   under the Supremacy Clause. These are important questions of constitutional and federal law in

   which the public has an interest that Welton’s deposition will help resolve.

          In addition, the DoS failed to consider how non-compliance would have an “adverse effect

   on performance by the Department of its mission and duties.” 22 C.F.R. § 172.8(a)(7). The Touhy

   Request seeks information that will establish that (1) the GIRoA never waived, but maintained,

   jurisdiction over Baby Doe; (2) the DoD had physical custody of Baby Doe from September 6,




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   2019 through February 27, 2020; and (3) the DoD released Baby Doe to the Afghan Government

   for reunification with her family. This information is critical to establishing that the United States

   exercised its foreign affairs powers by allowing Baby Doe’s transfer to the GIRoA for family

   reunification, and such exercise supersedes and nullifies any conflicting state court action under

   the Supremacy Clause. The resolution of this issue is central to ensuring the DoS is able to continue

   its mission of exercising control over foreign affairs.4

           The decision in Rhoads is instructive. 242 F.Supp.3d at 996. There, the court found the

   Veteran’s Administration’s (“VA”) denial of a Touhy request arbitrary and capricious because the

   VA failed to consider its own interest in the litigation. Id. The court explained that the VA’s

   purported lack of interest was “belied by its own involvement in the litigation and the events giving

   rise to it.” Id. In particular, the VA had participated in related litigation by authorizing an employee

   to sit for deposition in the related action. Id. As a result, “the VA’s blanket assertion . . . that they

   have no interest in the litigation is inconsistent with their involvement in the” related actions. Id.;

   see also OhioHealth Corp., 2014 WL 4660092 at *6 (finding VA failed to consider its own interest

   in the litigation, particularly in light of its participation in related litigation).

           Here, as the government concedes, DoS participated in the related state court litigation by,

   among other things, providing three declarations from Welton and even allowing her to participate

   in a “limited” deposition. ECF No. 389-1 at 6. But the government did even more than that – it

   (twice) moved to intervene in the related state court litigation. See A.A. and F.A. v. J.M. and S.M.,

   Case No. CL22000186-00, United States’ Motion to Intervene as a Party Respondent and in the

   Alternative Supplemental Statement of Interest (Fluvanna Cty., Nov. 8, 2022) (attached as Exh.


           4
                See United States Government, U.S. Department of State (DOS),
   https://tinyurl.com/ms7trapb (“The Department of State (DOS) advises the President and leads
   the nation in foreign policy issues.”).


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   N); id., United States’ Renewed Motion to Intervene as a Party Respondent (Fluvanna Cty., Jan.

   20, 2023) (attached as Exh. O). In those motions, the government argued that it “has unique

   governmental interests that warrant its intervention” because it “made a foreign policy decision in

   2020 to transfer” Baby Doe “to the Government of Afghanistan for family reunification pursuant

   to the Government of Afghanistan’s assertion of jurisdiction over the child and its decision to grant

   custody to her extended family under Afghan guardianship law.” Exh. N at ¶ 2. As a result, the

   government argued that its intervention was “necessary to preserve the United States’ foreign

   policy authority and ensure its compliance with international law, including the law of war.” Id. In

   support of its motion to intervene, the government submitted Welton’s Aug. 19, Aug. 22, and Nov.

   8, 2022 declarations. See A.A. and F.A. v. J.M. and S.M., Case No. CL22000186-00, United States’

   Memorandum in Support of Its Motion to Intervene as a Party Respondent and in the Alternative

   Supplemental Statement of Interest (Fluvanna Cty., Nov. 8, 2022) (attached as Exh. P).

          Plaintiffs agree with the government. It is hard to imagine an issue more important to the

   DoS than ensuring federal supremacy over matters of foreign affairs. The DoS’s failure to consider

   the public interest and how non-compliance would impact its own mission and duties was arbitrary

   and capricious and alone warrants denial of the United State’s Motion to Quash.

          2.   The DoS’s other considerations were insufficient.

          Apart from the DoS’s failure to consider two of the most important factors, the DoS’s

   consideration of other factors fell short. First, the DoS argues that Plaintiffs’ Touhy request is

   unduly burdensome because the DoS is not a party to the litigation. See Exh. B at 3. But DoS’s

   lack of involvement in the underlying litigation (which is belied by its own interest in the litigation)

   is not a relevant consideration when determining whether a request is unduly burdensome. Rather,

   a request is unduly burdensome when it requests information that is not particularly important to

   the subject-matter of the litigation and imposes a heavy burden on the agency’s employees and/or


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   operations. See Rhoads, 242 F. Supp. 3d at 994-95 (explaining that whether a request is unduly

   burdensome depends on the information sought and the burden imposed on the agency).

          Here, Plaintiffs seek information that, as explained, is key to various issues pending before

   this Court; and there is no denying the magnitude of this litigation both in terms of public interest

   and issues of constitutional law. At the same time, the DoS does not explain how deposing Welton

   would somehow be untenable and burden either Welton or the DoS. The DoS’s barebones

   statement that the deposition would “take [Ms. Welton] from her current official duties” is

   insufficient. In re 3M, No. 2020 WL 6438614, at *4 (“These sweeping statements, which do not

   explain an actual disruption from or impact of complying with discovery, is [sic] insufficient

   because it does not evince any effort by the CDC to examine the actual evidence before it.”).

          Indeed, if necessary, given the importance of the issues at stake, Plaintiffs are willing to

   work with the DoS to find a date and time that works for both Welton and the DoS, and to depose

   Welton remotely. See id. (“The CDC failed to offer any rational explanation as to why Dr.

   Murphy’s remote deposition could not take place around his work obligations and at a time

   convenient for him.”); see also Rhoads, 242 F. Supp. 3d at 995 (“Although the Court recognizes

   that the VA is in a better position than the Court to determine the time and effort involved in

   preparing the employees for their depositions and testimony and how that time commitment might

   hamper their ability to fulfill their duties, the VA’s response to Plaintiffs’ request under Touhy

   fails to address Plaintiffs’ offer to accommodate VA employees’ work schedules and to consider

   the burden in light of other important factors.”) (cleaned up) (internal citations omitted)).

          Next, the DoS argues that Plaintiffs’ Touhy request is “duplicative” because Welton already

   provided three declarations and a “limited purpose” deposition in the related state court

   proceeding. Exh. B at 4. In its Motion to Quash, the government further argues that the Touhy




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   Request “seek[s] testimony on precisely the same topics covered by these employees’

   declarations.” ECF No. 389 at 8.

           The DoS misses the point. Here, Plaintiffs seek to depose Welton to establish facts that

   relate to the declaratory judgment issues before this Court. A declaration, though, “is not an

   adequate substitute for live testimony, such as a deposition,” In re 3M, No. 3:19-MD-2885, 2020

   WL 6438614, at *4 (quoting Cavanaugh v. Wainstein, No. 05-123 (GK), 2007 WL 1601723, *10

   (D.D.C. June 4, 2007) (finding agency’s decision to provide declaration instead of deposition

   arbitrary and capricious)), as it “eschews the opportunity . . . to probe the veracity and contours of

   the statements,” and “counsel propounding the question is denied the opportunity to ask probative

   follow-up questions.”5 Id. (quoting Alexander v. F.B.I., 168 F.R.D. 113, 121 (D.D.C. 1998)); see

   also Founding Church of Scientology v. Webster, 802 F.2d 1448, 1451 (D.C. Cir. 1986)

   (“Depositions . . . rank high in the hierarchy of pretrial, truth-finding mechanisms”). Moreover, as

   the DoS concedes, while Welton was deposed in the state court case, her deposition in that case

   was limited solely to the authentication of documents and, thus, is an insufficient alternative to

   cover the issues raised in this proceeding. The DoS has failed to rationally connect the facts of this

   case to DoS’s ultimate conclusion, which amounts to an arbitrary and capricious decision under

   the APA. See id. at *3. Indeed, the DoS states that “to the extent the parties seek to use that material

   [the limited, state court deposition and the declarations] in the federal case, they can seek additional

   authorization for that purpose.” See Exh. B at 4. That is exactly what Plaintiffs did with their Touhy

   Request seeking to depose Ms. Welton.



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     If the Court grants the government’s Motion to Quash, Plaintiffs reserve the right to seek the
   admission of the Welton, Fairfield and Reed declarations under Fed. R. Evid. 803(8) and 807.
   Certain of these declarations were admitted in the related state court litigation, over the objections
   of counsel for J&S Mast, under Virginia’s public records exception to the hearsay rule.


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      B. The DoD’s denial of Plaintiffs’ Touhy Request was arbitrary and capricious because
         the bases for its denial were insufficient.

          The DoD argues that Plaintiffs’ Touhy Request is unduly burdensome “in light of the

   extensive amount of information that the DoD has already provided.” Exh. C at 2. The DoD refers

   specifically to two declarations from Fairfield and one declaration from Reed submitted in the state

   court litigation. Id. In its Motion to Quash, the DoD further argues that the Touhy request is unduly

   burdensome because the information sought relates to the United States’ “foreign policy decision

   to transfer Baby Doe to the Afghan government, which is not properly subject to collateral attack,

   and therefore not genuinely in dispute.” See ECF No. 389 at 11-12.

          The DoD misses the point entirely. Plaintiffs explain above how these requests are relevant

   to the litigation. Moreover, a request is unduly burdensome when it requests information that is

   not particularly important to the subject-matter litigation and imposes a heavy burden on the

   agency’s employees and/or operations. See Rhoads, 242 F. Supp. 3d at 994-95 (explaining that

   whether a request is unduly burdensome depends on the information sought and the burden

   imposed on the agency). Here, while DoD explains why it believes the information sought is not

   in dispute, the DoD does not address the burden, if any, imposed on the DoD and Fairfield and

   Reed. In fact, the DoD provided no explanation of how, if at all, providing the depositions of

   Fairfield and Reed would impermissibly burden either individual or the DoD. See generally Exh.

   C. In its Motion to Quash, the United States similarly fails to explain how the request is

   burdensome, simply stating: “Federal employees should not be subjected to the burdens of a

   deposition simply to refute such futile allegations, particularly when, as here, they have already

   provided declarations setting forth the legal framework and factual circumstances of the United

   States’ decision.” ECF No. 389 at 12. The government’s conclusory statements don’t suffice under

   the APA. In failing to explain how, if at all, the request would burden Fairfield, Reed, or the DoD,



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   the DoD fails to provide a rational connection between the facts on which it relies and the choice

   it has made, which renders the DoD’s decision arbitrary and capricious. See Schroeder, 673 F.

   Supp. 3d at 1218 (finding that the VA’s failure to explain how the plaintiff’s Touhy request would

   affect the duties of the VA employees rendered the VA’s denial arbitrary and capricious). As with

   the DoS and Welton, Plaintiffs are willing to find a date, place and time that works for Fairfield,

   Reed, and the DoD, and to depose them remotely. See Rhoads, 242 F. Supp. 3d at 995.

            In addition, the DoD argues that Plaintiffs’ Touhy request is “duplicative” because

   Plaintiffs already obtained two declarations of Fairfield and the declaration of Reed submitted in

   the state court litigation. See Ex. C at 3. In its Motion to Quash, the United States similarly argues

   that the Touhy Requests “seek testimony on precisely the same topics covered by these employees’

   declarations.” [ECF 389] at 8. But, as explained above, the state court declarations are insufficient

   alternatives to a deposition for this proceeding. See In re 3M, 2020 WL 6438614, at *4. The DoD

   fails to grapple with this obvious issue. In doing so, it fails to rationally connect the facts to its

   ultimate conclusion, which amounts to an arbitrary and capricious review under the APA. See id.

   at *3.

            Lastly, the DoD argues that the information sought is privileged under the deliberative-

   process privilege. As with its other objections, the DoD’s objection is insufficient. The DoD

   waived privilege when it voluntarily shared the declarations in the state court proceeding. See

   Alpha I, L.P. ex rel. Sands v. United States, 83 Fed. Cl. 279, 290 (2008) (finding that the

   deliberative process privilege is waived for all documents or information that the government has

   previously produced or that has been the subject of testimony in other cases.). In S.E.C. v.

   Chakrapani, No. 09 CIV. 1043 (RJS), 2010 WL 2605819, at *10 (S.D.N.Y. June 29, 2010), the

   FBI was prepared to produce the requested materials in another trial but refused the plaintiff’s




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   Touhy request for the materials in the case at bar. The court reasoned that the government’s

   willingness to share the materials in one trial, and not another, raised serious questions about its

   decision-making and warranted a finding that the FBI’s decision was arbitrary and capricious. Id.

   Here, the DoD produced declarations from Fairfield and Reed in the related state court case, but

   refuses to provide their deposition on the same topics in this federal case. Like the FBI, the DoD

   fails to explain why it was willing to provide the information in one case but not in another. As in

   Chakrapani, the DoD’s failure to explain its decision renders it arbitrary and capricious under the

   APA.

          Moreover, even if the privilege weren’t waived, it is not properly asserted because the

   government did not support it by affidavit from an agency official. Alpha I, 83 Fed. Cl. at 290

   (“The assertion of the deliberative process privilege ordinarily calls for support by an affidavit

   from an agency official at the time the privilege is first asserted”); Pac. Gas & Elec. v. United

   States, 71 Fed. Cl. 205, 209 (2006) (same).

                                            CONCLUSION

          For the foregoing reasons, the Court should deny the United States Motion to Quash (ECF

   No. 389) and permit Plaintiffs to proceed with the depositions of Donna A. Welton, Col. Joseph

   M. Fairfield, and Lt. Col. Rosemary Reed.


          Date: May 21, 2024                            Respectfully submitted,

                                                        /s/ Maya M. Eckstein
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on May 21, 2024 I electronically filed the foregoing Motion to Compel

   Compliance with the Subpoena with the Clerk of Court using the CM/ECF system, which will

   send a notification of such filing to all counsel of record in the CM/ECF system.


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